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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF lLLINOlS, EASTERN DIVlSION

NEVLES TRAYLOR,
Plaintiff
V.
OFFICER RAYMOND PlWNICKI, Star #

7858, OFPICER ROBERT SMITH, Star #
19314, in their individual capacities; and the

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CITY OF CHICAGO, JURY TRIAL DEMANDED
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Plaintiff, by counsel, alleges as follows:
INTRODUCTION
l. This is a civil rights action for damages brought pursuant to the Fourth and Fourteenth

Amendments to the United States Constitution, 42 U.S.C. §§ 1983 and 1988, and Illinois common

law for the torts of false arrest and battery.

2. Plaintiff complains that the Defendant Chicago Police Officers Piwnicl<i and Srnith

(“Individual Defendants”) struck Plaintiff with their police car and beat Plaintiff Without any legal

justification Additionally, the Individual Defendants fabricated evidence against Plaintiff and

falsely arrested him to cover up and justify their misconduct

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JURISDICTION AND VENUE
3. The jurisdiction of the Court is conferred by 28 U.S.C. §§ 1331 and 1343, and

supplemental jurisdiction is conferred by 28 U.S.C. § 1367.

4, Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391.
PARTI`ES
5. Plaintiff Nevles Traylor is a forty-three year-old African-Arnerican man, a resident of

the City of Chicago, and a United States citizen

6. Defendant Raymond Piwnicki, Star # 7858, was on July 9, 2001, an officer in the
Chicago Police Department assigned to the Special Operations Section. During the Plaintiff’s arrest,
Defendant Piwnicki was acting under color of state law as a police officer of the City of Chicago and
within the scope of his employment

7. Defendant Robert Smith, Star # 19314, was on July 9, 2001, an officer in the Chicago
Police Department assigned to the Special Operations Section. During the Plaintiff’s arrest,
Defendant Smith was acting under color of state law as a police officer of the City of Chicago and
within the scope of his employment

8. Defendant City of Chicago is an Illinois municipal corporation, and was, at the time
of Plaintiff’s arrest, the employer and principal of the Individual Defendants.
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9. At approximately 1:00 p.m. on July 9, 2001, Plaintiff Nevles 'I`raylor was riding his
bicycle.

10. As Plaintiff rode along a sidewalk adjacent to an apartment building located at 3616

South State Street in Chicago, the Individual Defendants, without probable cause or other legal

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justification, struck Plaintiff with their marked blue and white Chicago police car, pinning Plaintiff
between the car and a metal fence.

l l. While Plaintiff writhed in pain, pinned between Defendants’ police car and the fence,
Defendant Piwnicki, without any provocation, jumped out of the car, approached Plaintiff, and beat
Plaintiff about his head.

12. Defendant Smith stood by impassively, while his partner Piwnicki beat Plaintiff on
the fence.

13. Plaintiff remained entangled in the fence until an African-Amen'can male police
officer arrived and extricated Plaintiff with wire cutters.

14. As Plaintiff lay prone on the ground, Defendant Smith searched Plaintiff’s body and
pockets, and removed Plaintiff’s wallet from his pocket Smith retained Plaintiff’s identification
Defendant Piwnicki forced handcuffs around Plaintiff’s Wrists.

15. Paramedics who had arrived on the scene slid Plaintiff, in handcuffs, on a flat board
for transport.

16. At the instruction of the Individual Defendants, Plaintiff was fingerprinted,
photographed, and thoroughly searched by Chicago police officers. Defendant Piwnicki ordered the
lock-up keeper to hold Plaintiff “as long as possible” in a police jail cell.

17. Plaintiff Was held in locked jail cells in Chicago police stations from the evening of
July 9 through the morning of July ll, 2001.

18. Defendants Piwnicki and Smith filed false police reports, fabricated evidence, and
falsely charged Plaintiff with the Illinois felony of possession of a controlled substance

19. The Individual Defendants’ false reports, fabricated evidence, and suppression of

exculpatory evidence induced the Cook County State’s Attorney to file against Plaintiff felony

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criminal charges of possession of a controlled substance with intent to deliver, in violation of 720
I.L.C.S. 570/401(d) and 407(b).

20. Due to Plaintiff’s indigence, he was unable to make bond until November 19, 2001.
As a result, he remained in the custody of the Cook County Department of Corrections from July 11,
2001 until November 19, 2001.

21. Plaintiff posted $750 and was released on bond on November 19, 2001. The bond
imposed restrictions on Plaintiff’s liberty and freedom, including his right to travel during the
pendency of the false criminal charges, which remain in force through the filing of this Complaint,

22. At all times preceding the lndividual Defendants’ striking and seizing Plaintiff on July
9, 2001, Plaintiff behaved peacefully and lawfully and provided no probable or reasonable cause or
suspicion, or any other legal justification, for his seizure and arrest.

23. The aforementioned actions and omissions of Defendants Piwnicl<i and Smith
described in paragraphs 10-12, 14, and 16-19 above were undertaken knowingly and intentionally,
wantonly and with reckless or callous disregard of, or indifference to, the rights of Plaintiff.

24. By their actions and omissions, the Individual Defendants violated Plaintiff’s
constitutional rights and committed tortious offenses

25. As a direct and proximate result of the conduct of the Individual Defendants described
above, Plaintiff Nevles 'l`raylor was deprived of his rights as stated below, and suffered mental,
emotional, and physical damages, including but not limited to the following: he experienced and
continues to experience mental distress and anguish; he suffered numerous bruises, abrasions,
muscle soreness, and a temporary inability to move or walk without pain', he experienced numbness
in his right hand; he experienced throbbing pain and headaches; he experienced temporary soreness

and bruising around his ribs and pain in breathing; he continues to experience the loss of liberty for

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charges he did not commit; he lost earnings and the ability to work; he lost his bicycle, a primary
means of personal transport; and he further suffered humiliation, embarrassment, discomfort, fear,

anxiety, and loss of enjoyment of life.

CLAIM I: FOURTH AND FOURTEENTH AMENDMENTS
(Excessive Force--against Defendants Piwnicki and Smith)

26. Plaintiff re-alleges and incorporates herein paragraphs 1 through 25 above.

27. Plaintiff asserts Claim I, arising under 42 U.S.C. § 1983 against Defendants Piwnicki
and Smith, in their individual capacities

28. Defendants Piwnicki and Smith’s actions and inaction in the face of a Constitutional
duty to intercede, in striking Plaintiff with their police car, beating Plaintiff, and otherwise using
unreasonable and unjustifiable force against Plaintiff, without probable cause or legal justification,
violated Plaintiff’s Fourth and Fourteenth Amendment rights to be secure in his person, papers and
effects against unreasonable searches and seizures.

29. Defendants Piwnicki and Smith’s actions and omissions were the direct and
proximate cause of Plaintiff’s Constitutional rights violations, his physical injuries, mental suffering,
anguish and humiliation, and loss of personal freedom, as set forth more fully above.

30. Defendants Piwnicki and Smith’s actions and omissions were malicious, intentional,
willful, wanton, and shocking to the conscience Defendants Piwnicki and Smith exhibited a
conscious disregard or reckless indifference to Plaintiff’s rights and personal safety. The award of
punitive damages is necessary to punish Defendants Piwnicki and Smith for their misconduct and to

deter similar misconduct in the future.

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WHEREFORE, Plaintiff, prays that the Court:
(A) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial;
(B) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for appropriate punitive damages in an amount to be determined at trial;
(C) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;
(D) Grant such other and further relief as this Court deems equitable and just.
CLAIM H: FOURTH AND FOURTEENTH AMENDMENTS
(False Arrest_against Defendants Piwnicki and Smith)

31. Plaintiff realleges and incorporates herein paragraphs 1-30 above.

32. Plaintiff asserts Claim ll of this action against Defendants Piwnicki and Smith, in
their individual capacities

33. Defendants Piwnicki and Smith’s false arrest and detention of Plaintiff and
unreasonable search and seizure of Plaintiff’s person and personal possessions, without a warrant,
probable cause or reasonable suspicion, deprived Plaintiff of his Fourth and Fourteenth Amendment
rights to be secure in his person, papers and effects against unreasonable searches and seizures.

34. Defendants Piwnicki and Smith’s actions and inaction in the face of a Constitutional
duty to intercede were the direct and proximate cause of Plaintiff’s Constitutional rights violations,
physical injuries, mental suffering, anguish and humiliation, and loss of personal freedom, as set
forth more fully above.

35. Defendants Piwnicki and Smith's actions and omissions were malicious, intentional,

willful, and exhibited a conscious disregard or reckless indifference to Plaintiff’s rights. The award

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of punitive damages against Defendants Piwnicki and Smith is necessary to punish them for their
misconduct, and to deter similar misconduct.
WHEREFORE, Plaintiff, prays that the Court:
(A) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for actual compensatory damages in an amount to be determined at trial;
(B) Award Plaintiff judgment against each of the Individual Defendants, jointly and
severally, for appropriate punitive damages in an amount to be determined at trial;
(C) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;
(D) Grant such other and further relief as this Court deems equitable and just.

CLAIM III: FOURTEENTH AMENDMENT
(Denial of Liberty Without Due Process- against Defendants Piwnicki and Smith)

36. Plaintiff realleges and incorporates herein paragraphs 1-35 above.

37. Plaintiff asserts Claim Ill of this action against Defendants Piwnicki and Smith, in
their individual capacities

38. The Individual Defendants’ actions in falsifying police reports, fabricating inculpatory
evidence, providing such inculpatory evidence to the local prosecutor, secreting exculpatory
evidence, and initiating a false criminai complaint against the Plaintiff caused Plaintiff to be deprived
of his liberty without due process of law.

39. As a result of the Individual Defendants’ actions and inaction, Plaintiff suffered a loss
of his liberty, as more fully set forth above, in violation of Plaintiff’s Fourteenth Amendment due
process rights.

40. The aforementioned actions and inaction in the face of a Constitutional duty to

intercede by the Individual Defendants were the direct and proximate cause of Plaintiff’s

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Constitutional rights violations and injuries, loss of personal freedom, mental suffering, anguish,
embarrassment, and humiliation, as set forth more fully above.

41. Defendants Piwnicki and Smith’s actions and omissions were intentional, malicious,
willful, and exhibited a conscious disregard or reckless indifference to Plaintiff’s rights, The award
of punitive damages against Piwnicki and Smith is necessary to punish them for their misconduct
and to deter similar misconduct.

WHEREFORE, Plaintiff prays that the Court:

(A) Award Plaintiff judgment against each of the Individual Defendants, jointly and

severally, for actual compensatory damages in an amount to be determined at trial;

(B) Award Plaintiff judgment against each of the Individual Defendants, jointly and

severally, for appropriate punitive damages in an amount to be determined at trial;

(C) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

(D) Grant such other and further relief as this Court deems equitable and just.

CLAIM IV: l]_.LlNOIS FALSE ARREST AND IMPRISONMENT
(Against Defendants Piwnicki, Smith and the City of Chicago)

42. Plaintiff realleges and incorporates herein paragraphs 1-41 above.

43. Claim IV of this Complaint is an Illinois common law action for false arrest and
imprisonment asserted against Defendants Piwnicki and Smith and their employer, the City of
Chicago. This Court has jurisdiction of this claim under 28 U.S.C. § 1367.

44. The actions and omissions by the Individual Defendants described above were
undertaken within the scope of their employment as police officers of the City of Chicago.

45. The Individual Defendants’ seizure and arrest of the Plaintiff without a warrant and

without probable cause were intention al, willful, wanton, and unreasonable; they denied Plaintiff his

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personal liberty against Plaintiff’s will; and they constitute the tort of false arrest and imprisonment
under Illinois law. Further, these actions directly and proximately caused Plaintiff’s injuries as set
forth more fully above.

WH.EREFORE, Plaintiff prays that the Court enter judgment in his favor against the
Individual Defendants and the City of Chicago, jointly and severally for actual compensatory
damages in an amount to be determined at trial; award Plaintiff judgment against each of the
Individual Defendants (excluding the City of Chicago), jointly and severally, for punitive damages in
an amount to be determined at trial; award all reasonable attorneys' fees and costs', and grant any
additional relief this Court deems just and equitable

CLAIM V: lLLINOIS BATTERY
(Against Defendants Piwnicki, Smith, and the City of Chicago)

46. Plaintiff re-alleges and incorporates herein paragraphs 1 through 45 above.

47. Plaintiff asserts Claim V of this complaint, arising under Illinois common law, against
Defendants Piwnicki and Smith and their employer, the City of Chicago.

48. The actions committed by Defendants Piwnicki and Smith were undertaken within the
scope of their employment as police officers of the City of Chicago.

49. Defendant Piwnicki and Smith’s actions and omissions, as set forth above, were
intentional, willful, wanton, malicious, and without probable cause, provocation, or legal
justification, and/or with such reckless disregard for their natural consequences as to constitute the
tort of battery under Illinois law.

50. Defendants Piwnicki and Smith subjected Plaintiff to contact of an insulting and
provoking nature and caused Plaintiff bodily harm, directly and proximately causing Plaintiff’s

injuries, as set forth above.

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WHEREFORE, Plaintiff prays that the Court enter judgment in his favor against the
Individual Defendants and the City of Chicago, jointly and severally for actual compensatory
damages in an amount to be determined at trial; award Plaintiff judgment against each of the
Individual Defendants (excluding the City of Chicago), jointly and severally, for punitive
damages in an amount to be determined at trial; award all reasonable attorneys' fees and costs;
and grant any additional relief this Court deems just and equitable

CLAlM VI: l]_.LlNOIS LOCAL GOVERNMENT TORT lMMUNITY ACT
(745 ILCS 10\9-102B_Against Defendant City of Chicago)

51. Plaintiff realleges and incorporates herein paragraphs 1-50 above.

52. Claim VI of this Complaint is an Illinois statutory claim against Defendant City of
Chicago. This Court hasjurisdiction of this claim under 28 U.S.C. § 1367.

53. Defendant City of Chicago is the employer of each of the Individual Defendants.

54. Each of the Individual Defendants committed the acts and omissions alleged above
under color of state law and in the scope of their employment as employees of the City of Chicago.

WHEREPORE, should any of the Individual Defendants be found liable on one or more of
the claims set forth above, Plaintiff demands that, pursuant to 745 ILCS 10\9-102, the Defendant
City of Chicago be found liable for any judgment Plaintiff obtains thereon against said defendants, as
well as for all attorneys’ fees and costs awarded

PLAINTIFF DEMANDS TRIAL BY JURY ON ALL CLAIMS.

Respectfully submitted,
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One of Plaintiff’s Attorneys

 

Date: July 3, 2002

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Craig B. Futterman

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(7'73) 702-9611

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Civil Cover Sheet ,-\

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NORTHERN DISTRICT OF ILLINOIS

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Civil Cover Sheet j

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supplements the filing and service of pleadings er other papers as required by law. This form is authorized for use only in thc Nonhern Distriet of Illinois.

  

 

Defendant{$):RAYMONl) PIWNICKI, Star # 7858; ROBERT
Plaintifl`(s): NEVLES TRAYLOR SMI']`II, Star # 19314, in their individual capacities; and the
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County of Residcnce: Cook County of Residencc: Cook JuDGE CONLON

Plaintiff`s Atty: Craig B. Fultcrrnan Defendant's Atty: E
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LBasis oflurisdictiomnz 3. ["edcral Question (U.S. not a party)

llI. Citizenslrip of Principal Parties
(I)iversity Cases Only)
Plaintiff:- N/A
Defendant:- N/A

 

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Vl.Cause of chi_trn_: 42 U.S.C. 1983 and 1988. Excessive force, false arrest, and unlawful search-and sei_"zjlre
violations by police. ")" " '-/-`i~ ”€
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Jury Demand: Yes

VIII. This case IS NQ'lj a refiling of a previously dismissed casc.

 

 

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS DucKETED

Eastern Division JUL 9 3 2002
Nevles Traylor a "'“'- ,\
Plaintiff §§§N%:u:;:§:

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Raymond Piwnicki, et al. . , ,
Defendants thDGE €UN|.ON

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

Nevles Traylor nw G\ST?\ATE JUD(_§§NN

In the Matter of

 

 

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